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12   *Pro Hac Vice
13   Attorneys for Plaintiff and the alleged Classes
14
                         UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16                            WESTERN DIVISION

17   Edwardo Munoz, individually and on
     behalf of all others similarly situated,
18
                               Plaintiff,       Case No. 2:18-cv-03893-RGK-AGR
19
            v.
20
     7-Eleven, Inc., a Texas corporation,         NOTICE OF PLAINTIFF’S
21                                                MOTION TO COMPEL
                                 Defendant.
22
                                                  Date: March 28, 2019
23                                                Time: 10:00 a.m.
24                                                Judge: Hon. Alicia G. Rosenberg
                                                  Courtroom: 255
25                                                Complaint Filed: May 9, 2018
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 1         PLEASE TAKE NOTICE that on March 28, 2019 at 10:00 a.m., via a
 2   telephonic hearing, Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) will and
 3   hereby does move before the Honorable Alicia G. Rosenberg for an order granting
 4   Plaintiff’s Motion to Compel.
 5         The Motion is based on this Notice and Motion, the supporting
 6   Memorandum, and exhibits attached thereto.
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 8                                            Respectfully submitted,
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     Dated: March 8, 2019                     Edwardo Munoz, individually and on behalf
                                              of all others similarly situated,
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12                                   By:       /s/ Steven L. Woodrow
                                              One of Plaintiff’s Attorneys
13
14                                            Mike Arias (CSB #115385)
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                                Notice of Plaintiff’s Motion to Compel
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                             CERTIFICATE OF SERVICE
 1
           The undersigned hereby certifies that a true and correct copy of the above
 2
     titled document was served upon counsel of record by filing such papers via the
 3
     Court’s ECF system on March 8, 2019.
 4
                                                       /s/ Steven L. Woodrow
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                                Notice of Plaintiff’s Motion to Compel
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